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Filed 1/‘\ 7/2017 4205106 PM

Rachel P_ Ramirez

District Clerk
Zava|a County, Texas
17-()1_13865-2@\/ Noelia Martinez
CAUSE NO.
LIBRADA JIMENEZ § lN THE DlSTRlCT COUR.T
Plaintift`, §
§ Zavala County - 365th District Court
VS. § JUDICIAL DISTRICT
§
CERTA|N UNDERWRITERS AT LLOYD’S, §
LONDON, ENGLAND (Authority Rcl`crcncc #: §
Bl 13514CPBA1353) and JOHN BELICH §
§
Dcfendants. § ZA\/ALA COUNTY, TEXAS

PLA!NTIFF’S ()RIGINAL PETITI()N
TO THE HONORABLE JUDGE OF SAID COURT:

Plaintiff, LIBRADA JH\/IENEZ, files this Original Pctition against Dcfcndant, CERTAIN
UNDERWRI,TERS AT LLOYD’S, LONDON, ENGLAND (Authority Rel`crencc #:
Bl 13514CPBA1353) (“Ccrtain Undcrwritcrs") and JOHN BELlCH (“Adjustcr" or “BELICH”),
and f`or causes ol`zlction would respectfully show thc Court the following

I. DlSCOVERY LEVEL

Pursuant to Rule 190 of the Texas Rulcs ol`Civil Procedurc, Plaintil`f intends to conduct
discovery under chcl 3.

II. VENui~:

Venue is appropriate in Zavala County, Tcxas because all or part ofthe conduct giving rise
to thc causes ot` action wcrc committed in Zavala County, Tcxas and Plaintiff and property which
is the subject of this Suit are located in Za\/ala County, Tcxas.

Ill. P,\R'rms

Pluintifl" rcsidcs in Zzivnlu County, Tcxzis.

 

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Defendant Certain Underwriters is in the business ot`insurance in the State ot`Texzis. The

insurance business done by Certain Underwriters in Texas includes, but is not limited to, the

following:

¢ The making and issuing ot` contracts ofinsurance with Plaintiff;

v The taking or receiving ofapplication for insurance, including Plaintil`Fs
application for insurance;

¢ The receiving or collection of premiums, commissions, membership fees,
assessments, dues or other consideration for any insurance or any part thereol`,
including any such consideration or payments from Plaintit`f; and

¢ The issuance or delivery of contracts of insurance to residents of this state or a

person authorized to do business in this state, including Plaintit`f.

Det`endant, CERTAlN UNDERWRITERS AT LLOYD’S, L.()NDON, ENGLAND
@iuthoritv Ret`erence #: Bl l3514CPBAl353), is an eligible surplus lines insurer whose home
office/principal business office is located at 25 W 53rd St., Fl l4, New York, NY 10019-5401, and
who will notice ol` suit to Edward T. Smith, Esq at Mendes & Mount, LLP, 750 Seventh A\/enue,
New York, NY 10019-6829, and may be cited with process by Certified Mail Return Receipt
Requested to the Texas Commissioner of Insurance, 333 Guadalupe, Austin, Texas 70701.

De'Fendant, JOHN BELlCH, is an Adjuster and he may be cited with process by Certil“ied
Mail, Return Reeeipt Requcsted at 10803 Mount Ida, San Antonio, Texas 78213. The
Ad_juster engages in the business of insurance in Texas.

IV. NA'ruRE or ruiz CASE; Ri~:LiEF SoucHT

This is a first-party insurance case stemming from extensive damage to Plaintit`t`s property
from a wind/hail event on or about March 2016. Plaintift` seeks damages t`or breach ot` contract
and violations ol` the Texas insurance Code. Plaintit`t` also seeks her attorney’s fees, statutory

penalties, costs ol`court and pre- and post-judgment interest As required by Rule 47 ot`the Texas

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Rules ofCivil Procedure, Plaintil"f seeks monetary reliet`less than 5100,000.00, including damages
ot` any kind, penalties, costs, expenses, prejudgment interest, and attorney 1`ecs.
V. BACK(;RouNn FACTS

b Plaintit`t` owns the insured property located at 718 E Webb, Crystal City, Texas 78839 and
314 Cyprcss Ave., Crystal City, 'l`cxas 78839 (the “Properties”). The properties are covered by a
policy of insurance, numbered AGL001334-00, issued by Det"endant Certain Underwriters, to
Plaintit`t` (“the Poliey”). The Policy covered Plaintift"s properties against loss by wind, water
damage, among other perils.

As a consequence ofthe wind and hail, Plaintiff`s properties sustained extensive damage
on or about March 2016. l

Plaintiff gave timely notice to the carrier.

The carrier assigned the claim to BELICH, among others, to investigate, report on and
adjust the loss.

Plaintift` provided information to the Adjuster and opportunities for the Adjuster to inspect
the Properties.

The lnsurance Del`endant and the Adjuster have failed and refused to pay Plaintift` in
accordance with its promises under the Policy. The lnsurance Defcndant violated the Prompt
Payment ot'Claims Act, Texas Ins. Code § 542.055 et. seq. Considering the underpayment in this
case, the amount in controversy is less than $1.00,000.00 excluding interest and costs.

VI. CLMMS AGAINST CERTMN UanR\vniTans AT Li.ovl)’s LoNl)oN, E.\*GLA-ND
(Au'ri-ionrrv REFERENCE #: 3113514CPB7\1353

Declaratorv Judgmient. Plaintiff rc-alleges the foregoing paragraphs Pursuant to the Tcxas
Declaratory Judgment Act, Plaiiitifi` is entitled to a declaration that the Poliey provide coverage

t`or the cost to repair the damaged properties and personal property, less only a deductible, among

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other things ln the alternative, Plaintiff asserts that the Policy is ambiguous and must be
interpreted in favor ofcoverage and against Defendant.

Breach ofContract. Plaintit`fre-alleges the foregoing paragraphs The acts and omissions

 

of Defendant and its agents constitute a breach and/or anticipatory breach of Defendant’s contract
with Plaintiff. Plaintiff has satisfied all conditions precedent to the fulfillment of its contractual
demands Accordingly, additionally or in the alternative, Plaintiff brings an action for breach of
contract against Defendant pursuant to Texas statutory and common law, including Chapter 38 of
the Texas Civil Practice and Rcmcdies Code, and seek all of its damages for such breach, including
actual damages, consequential damages, attorneys’ fccs, prejudgment interest, other litigation
expenses and costs of court.

Violations of the Texas insurance Code. Plaintiffre-alleges the foregoing paragraphs At
all pertinent times, Defendant was engaged in the business of insurance as defined by the Texas
lnsurance Code. The acts and omissions of Defendant and its agents constitute one or more
violations of the Texas lnsurance Code. l\/lore speeifically, Defendant has, among other violations,
violated the following provisions of the Code:

1. insurance Code chapter 542, the Prompt Payment Act.
2. lnsurance Code chapter 541, section 541.060 by, among other things:

o failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
ofa claims with respect to which their liability has become reasonably clear;

» refusing to pay Plaintiff”s claims without conducting a reasonable investigation
Where statements were made by Defendant, Plaintiff reasonably relied upon them As a
result ofthe foregoing conduct, which was and is the producing cause(s) of injury and damage to
Plaintiff, Plaintiff has suffered damages including without limitation, actual damages, economic

damagcs, and consequential damages Morcover, one or more ofthe foregoing acts or omissions

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were “knowingly" made, entitling Plaintiff to seek treble damages pursuant to the lnsurance Code.
Defendant has also violated the Prompt Payment Act, and Plaintiff seeks 18% damages as a
penalty, plus reasonable and necessary attorney’s fees incurred as a result ofthese violations
VII. CLAiMs AGAiNs'r Ai)Jus'raR

The lnsurance Defendant hired Adjuster to investigate the loss on its behalf Thc Adjuster
inspected Plaintiff’s property and reported their finding to the lnsurance Defendant Upon
information and belief, the Insuranee Defendant made its coverage and payment decision based on
the investigation and recommendations of the Adjustcr. The investigation was inadequate and
conducted in a result~oricnted manner.

The Adjuster violated the Texas insurance Code § 541 .060 in the following manner:

l. Failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
a claims with respect to which their liability has become reasonably clear; and

2. Refusing to pay Plaintiff’s claims without conducting a reasonable investigation

The Adjuster’s conduct was “knowingly” under the lnsurance Code. Therefore, Plaintiff
is entitled to treble damages

Vlll. CoNi)rrloNs PRECEI)ENT
All conditions precedent for Plaintiff to recover under the Policy has been or will be met.
IX. JURY DEMAND
Plaintiff requests that ajury be convened to try the factual issues in this action.
X. REQUES'[` FUR DlSCL()SURE

Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that Defendants

provide the information required in a Request for Disclosurc.

XI. REQuEsTs ron PRonuc'rioN To CERTMN UNi)nR\\/Rrrr:as

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Produce the complete claim tile for Plaintit`t`s properties relating to or arising out ofthe
loss made the basis ofthis suit.

Produce the complete underwriting tile for Plaintit`f’s properties which is the subject ofthis
suit.

Produce all emails, notes, and other forms of communication between Defendant, its
agents, adjusters, employees, or representatives relating to, mentioning, concerning or evidencing
Plaintit`f’s properties which is the subject ofthis suit.

Produce the application for insurance and any notes, logs, statements or inspections created
or produced during the application process ofthe Policy at issue in this suit.

XH. REQUEST FOR PRODUCTION TO JOHN BELICH

Request for Production No. lt Produee BELICH’ complete claim or adjusting file for
Plaintift’s properties relating to or arising out of any damage which occurred

Request for Production No. 2. Produce all emails, notes, and other forms of
communication between Cci“tain Underwriters, its agents, Adjusters, employccs, or representatives
and JOHN BELlCH, and/or their agents, Adjusters, representatives or employees relating to,
mentioning, concerning or evidencing the Plaintiff’s properties which is the subject of this suit.

Xlll. PR.‘\YER

WHEREFORE, Plaintift`seeks the following reliet`;

A. The Court’s declaration that the Policy provides coverage for the damage to the
Properties, less only a deductible;

B. Alternatively, a ruling that the Poliey is ambiguous and must be interpreted in favor

ot`coverage and in favor ofPlaintiff;

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C. Damages against Defendants for breach of contract, including actual damages,
consequential damages, attorneys’ fees, pre- and post-judgment interest, other litigation expenses
and costs of court;

D. Damages against Det`endants for violations of the Texas lnsurance Code, including

without limitation economic damages, actual damages, consequential damages, treble damages,

and reasonable and necessary attorneys’ fees;
li4 Penalty in the amount of lS% damages for violations ofthe Prompt Payment Act;
F. Any other reliet`to which Plaintiff would bejustly entitled to.

Rcspectfully submitted,

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